Case 21-30589-MBK              Doc 1346        Filed 02/03/22 Entered 02/03/22 10:15:44                            Desc Main
                                             Document      Page 1 of 2


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                                                    February 3, 2022

Honorable Michael B. Kaplan
402 East State Street
Trenton, N.J. 08608
Courtroom #8

Dear Chief Judge Kaplan,

        I am writing on behalf of LTL Management LLC (“LTL”), along with co-counsel for
Johnson & Johnson (“J&J”), to inform the Court that it appears lawyers representing mass tort
plaintiffs in this proceeding have shared confidential documents produced in discovery with the
Reuters news agency, in violation of the Court’s December 21, 2021 Protective Order (“Protective
Order”). Specifically, the violation encompasses at least two documents marked confidential: (1)
the minutes from a May 17, 2021 Special Meeting of the Board of Directors of J&J, during which
J&J’s General Counsel briefed directors on the talc litigation generally and J&J’s appeal of a
Missouri talc verdict to the U.S. Supreme Court (LTL 0019825); and (2) a series of
communications regarding a meeting with Jones Day partner Greg Gordon and his team to discuss
a potential divisional merger and bankruptcy (LTL 003536-78, LTL 0036459-61). Based on the
specificity of the questions from Reuters, it is apparent that these plaintiffs’ lawyers have
generally been feeding a series of company documents and deposition testimony from this
proceeding to Reuters in order to try their case in the court of public opinion.

       These materials were referenced in a recent email from a Reuters reporter to two J&J
media specialists and to Jones Day seeking comments regarding an upcoming Reuters article on
the pending LTL bankruptcy. See Ex. A.

         This is not the first time that Reuters is acting as a mouthpiece for plaintiffs, and not the
first time plaintiffs’ lawyers are using the media to advance their one-sided story in the talc
litigation. Indeed, it appears to be part of their respective business models. In 2018, Reuters
published an article entitled, “Johnson & Johnson knew for decades that asbestos lurked in its
Baby Powder.” See Lisa Girion, Johnson & Johnson knew for decades that asbestos lurked in its
Baby Powder, Reuters (Dec. 14, 2018), https://www.reuters.com/investigates/special-
report/johnsonandjohnson-cancer/ (attached as Ex. C). The 2018 article purported to contain
newly discovered information about asbestos contaminants in talc that was being reported by
Reuters “for the first time,” but instead merely regurgitated false allegations by plaintiffs’ lawyers,
who sought to use media publicity to give their meritless allegations a veneer of legitimacy, drive
down J&J’s stock price and improve their settlement leverage against the company. As plaintiffs’
lawyer Mark Lanier admitted in a recent declaration submitted in a securities proceeding, he was a
primary source for the 2018 article, and publication of the 2018 article “serve[d] [his] purposes as
a litigator to say, ‘Yes, get their attention; keep driving the stock down.’” See Decl. of Mark
Lanier ¶ 6, Dec. 20, 2021, Hall v. Johnson & Johnson, No. 3:18-CV-01833-FLW-TJB (D.N.J.)
 AMS TERDAM • ATL ANTA • BEIJING • BOS TON • BRISBANE • BRUSSEL S • CHICAGO • CLEVEL AND • COLU MBUS • DALL AS • DETROIT
 DUBAI • DÜSSELDORF • FRANKFURT • HONG KONG • HOUS TON • IRVINE • LONDON • LOS ANGELES • MAD RID • MELBOURNE
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 SÃO PAULO • SAU DI ARABIA • SHANGHAI • SILICON VALLEY • SINGAPORE • S YDNEY • TA IPEI • TOKYO • WASHINGTON
Case 21-30589-MBK         Doc 1346     Filed 02/03/22 Entered 02/03/22 10:15:44              Desc Main
                                     Document      Page 2 of 2


(attached as Ex. D). (Notably, Mr. Lanier also stated in that declaration that the Reuters article did
not contain any information about talc that was not previously available in the public record,
contrary to Reuters’ suggestions in the article that it was publicizing various documents for the
first time.) The mass tort bar and Reuters appear to be collaborating again on a hit job designed to
prejudice J&J and LTL in the courtroom (and in the court of public opinion), this time in blatant
disregard and violation of Your Honor’s Protective Order.

        We have conveyed our serious concerns to Reuters and have asked that it confirm in
writing by 2 pm EST today that it will return and not disclose any Confidential Information
covered by the Protective Order in any forthcoming article. See Letter from Thomas A. Clare and
Joseph R. Oliveri to Katharine Larsen, Feb. 2, 2022 (attached as Ex. B). If Reuters refuses to
provide that assurance, we will consider moving this Court for an emergency temporary
restraining order to protect the Debtor’s rights. Cf. In re Zyprexa Injunction, 474 F. Supp. 2d 385,
397 (E.D.N.Y. 2007) (“injunction requires the return of the protected documents” disseminated to
New York Times reporter and others).

        We bring this issue to the Court’s immediate attention because it appears to be part of an
ongoing strategy to litigate this bankruptcy proceeding in the media in the weeks prior to the
Motion to Dismiss hearing and deny the Debtor a fair day in court. As set forth in the Debtor’s
Objection to Motions for Leave to File Briefs of Amici Curiae, claimants’ counsel have solicited
three “amicus” briefs from law professors in support of their motion to dismiss Debtor’s Chapter
11 case that largely parrot the mass tort lawyers’ positions in this case. The belated and
procedurally improper amicus submissions—made without requisite disclosures concerning the
amici’s interestedness and bias—plainly are intended to add a false veneer of gravitas to the mass
tort lawyers’ positions, while depriving the Debtor of an adequate opportunity to respond.
Notably, this amicus effort, too, was covered in Reuters, along with a quote from a plaintiff’s
lawyer. See Maria Chutchian, “Bankruptcy Experts Join Call To Dismiss J&J Chapter 11,”
https://www.reuters.com/legal/transactional/bankruptcy-experts-join-call-dismiss-jj-talc-ch-11-
2022-01-26/ (quoting Clay Thompson of the Maune Raichle Hartley French & Mudd firm,
praising amicus briefs as “frank, unvarnished talk from academics”) (attached as Ex. E). Given
the coordinated filing of those briefs and reach-out to the media covering their filing, these efforts
all appear to be part of a concerted strategy to undermine the integrity of these proceedings and
prejudice the Debtor.

       Thank you for your consideration of these issues.

                                              Respectfully submitted,

                                              /s/ Gregory M. Gordon
                                              Gregory M. Gordon, Jones Day
                                              Counsel for LTL Management LLC

                                              /s/ Jessica Lauria
                                              Jessica Lauria, White & Case LLP

                                              Counsel for Johnson & Johnson



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